        Case
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 8                                 UNITED STATES DISTRICT COURT
 9                                          DISTRICT OF NEVADA
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                                                           )
12   UNITED STATES,                                        ) Case No. 2:16-cr-00155-JCM-CWH
                                                           )
13          Plaintiff,                                     )
                                                           )
14          vs.                                            )    [PROPOSED] ORDER
                                                           )
15   CALVIN ROBINSON,                                      )
                                                           )
16          Defendant.                                     )
                                                           )
17
            Good cause appearing therefore, it is hereby ORDERED AS FOLLOWS:
18
            Defendant shall have until June 22, 2018, to file any Opposition to the government’s
19
     Motion for Turnover and Application of Seized Funds to Restitution.
20
            IT IS SO ORDERED.
21

22   Dated: May 24, 2018.
            _________, 2018                             _______________________________
                                                        HON. JAMES C. MAHAN
23
                                                        United States District Judge
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                                          ORDER RE EXTENSION OF TIME,
                         United States v. Robinson, Case No. 2:16-cr-00155-JCM-CWH   -1-
